                  Case 1:18-po-03892 Document 1 Filed on 09/07/18 in TXSD Page 1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                         AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-3892
Damaris Abigail FLORES-Varela
A215 942 868 El Salvador




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about        September 05, 2018       in                  Hidalgo                  County, in

the                                         Southern District Of Texas                                            defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                           1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Hidalgo, Texas on September 05, 2018. The defendant is a citizen of El Salvador who entered
the United States illegally by rafting across the Rio Grande River near Hidalgo, Texas on September 05, 2018 thus avoiding
immigration inspection.

Defendant had $15 US dollars and $70 Mexican pesos in their possession at time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Villarreal Iii, Ernesto Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Villarreal Iii, Ernesto       Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

September 07, 2018                                                     at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
